                   Case 3:22-cv-01809-EMC Document 63 Filed 07/05/22 Page 1 of 12




        Robbie Powelson                                                                      JUL 05 2022
        1001 Bridgeway, #611
                                                                                                  ·-
    2   Sausalito, CA, 94965                                                          CLE ·- U.S. DIST
        415-847-7500                                                                 NORT�/(,DISTRIC RICT CO
                                                                                                     T OF CAL
    3   robbiepowelson@gmail.com

    4                                               UNITED STATES COURT

    5                                       DISTRICT OF NORTHERN CALIFORNIA

    6   ROBBIE POWELSON                                             CASE NUMBER: 3 :22-CV-01809-EMC(RMI)

    7   V                                                           NOTICE IN ADVANCE OF ADMINISTRATIVE
                                                                    HEARING
    8   CITY OF SAUSALITO




J
    9
    o       1.   I submitting this notice in advance of my administrative hearing.
�
11          2.   I have emailed the attached exhibit to opposing counsel and Elliott Holt to send to the administrator who

12               will conduct the hearing. I have not been able to get a hold of Citation Processing Center and I have not

13               heard a response from the city

14          3.   I would raise a concern that it appears as Citation Processing Center may be destroying evidence. The first

15               ticket I received was at Marina Plaza on 5/25/21 while at a protest where only protesters were ticketed at

16               Marina Plaza.

17

18

19

20

21

22

23

24

25

26

27

28
        NOTICE IN ADVANCE OF ADMINISTRATIVE HEARING - 1
              Case 3:22-cv-01809-EMC Document 63 Filed 07/05/22 Page 2 of 12




        4.   However, that ticket has disappeared from the Citation Processing Center Website as shown below. Ticket

 2           SAU 010020306 has simply disappeared. Now there is only one, and it is the one I will be doing on the 6th

 3           at 9am.

 4           q � C             D     I Citat!onp,oceulr,gcenter.com/'CitallonM11Hlp1enesu11s. .aspx

             Ci'(lc1rAr10N PROCESSING CENTER
 5

 6
                               i fro,;iucn�)N�cdOue1tkln1
                               [N��
 7

 8
                                                                                                                                                                           1615Fifiifiii
                                                                 CIiek on lh• CllaUon N11rnbtr abcwa lor mc1r. d1t.lll1, lo Pl� or appHI lh1 c.llltlon «for pa,tlc..,.tln9 AgtnclH, to raqu11I an ahmalallow Income
                                                                                                                                      paym.,11,1....


 9

10

11

12

13                                                                                                   ForCu11omersor1ic:o•800-989-2058




14

15

16      5.   Obviously, I am concerned that this one confirmed disappearance of evidence is part of a larger pattern.
17      6.   I make a note of this now, because I don't want evidence to be destroyed. As the court advised regarding
18           the Younger doctrine, if the Citation Processing Center is unilaterally denying fee waivers across the State
19           of California it could mean that they have a racket which is extorting people by denying them ability to
20           appeal their parking tickets by unjustifiably denying fee waivers for their administrative hearings. I am
21           concerned disappearance of evidence might occur to hide this behavior.
22      7.   I am also concerned that the service of summon to their company was returned unexecuted. I request
23           clarification as to why the summons to Citation Processing Center was unexecuted and how I can remedy it
24           with the court.
25      8. I thank the court for its guidance and helping me get to this point of being able to have an administrative
26           hearing.
27      Respectfully signed and submitted
28
     NOTICE IN ADVANCE OF ADMINISTRATIVE HEARING - 2
                 Case 3:22-cv-01809-EMC Document 63 Filed 07/05/22 Page 3 of 12




 1   Robbie Powelson
     1 001 Bridgeway, #61 1
 2   Sausalito, CA, 94965
     415-847-7500
 3   robbiepowelson@gmail.com

 4                                                ADMINISTRATIVE HEARING

 5                                                    CITY OF SAUSALITO

 6

 7   CITY OF SAUSALITO, A MUNICIPAL                                REQUEST FOR ADMINISTRATIVE NOTICE OF
     CORPORATION ACTING ON BEHALF OF THE                           UNDISPUTE MATTERS OF PUBLIC RECORD AND
 8   PEOPLE OF CALIFORNIA                                          REQUEST FOR DISMISSAL OF ALL CITATIONS
                                                                   ISSUED UNDER SAUSALITO MUNICIPAL CODE
 9   vs.                                                           1 5.04.1 65 AGAINST VEHICLES IN MY CONTROL
                                                                   WHICH INCLUDE THE 2006 TOYOTA TUNDRA
1O   Robbie Powelson                                               LICENSE PLATE #8Z88260 AND 2004 MAZDA
     --------------------'                                         PROTEGE LICENSE PLATE #4UIP540
11

12
                                                          Prefatory Note
13

14
           1.   Here comes I the Defendant, Robbie Powelson, for dismissal of tickets issued against me at Marina Plaza
15
                under Sausalito Municipal Code 15.04.165 for vehicles under my control.
16
           2.   After months of seeking and administrative hearing, I finally by the grace and guidance of United States
17
                District Court of Northern California have finally am able to plead my case regarding the unlawful parking
18
                practices of the City of Sausalito.
19
           3. The city brings has created this public hearing after the court directed us that they would decide a
20
                preliminary injunction based on the Younger Doctrine governing federal intervention into state
21
                proceedings.
22
           4. I now gratefully plead my case. If the case is goes against me, I respectfully demand that steps immediately
23
                be taken that the tickets be heard in Marin County Superior Court for final adjudication.
24

25

26

27   REQUEST FOR ADMINISTRATIVE NOTICE OF UNDISPUTE MATTERS OF PUBLIC RECORD AND.
     REQUEST FOR DISMISSAL OF ALL CITATIONS ISSUED UNDER SAUSALITO MUNICIPAL CODE
28   15.04.165 AGAINST VEHICLES IN MY CONTROL WHICH INCLUDE THE 2006 TOYOTA TUNDRA
     LICENSE PLATE #8Z88260 AND 2004 MAZDA PROTEGE LICENSE PLATE #4UIP540 - 1
               Case 3:22-cv-01809-EMC Document 63 Filed 07/05/22 Page 4 of 12




 2                                               SUMMARY OF ARGUMENT

 3            A.        INTRODUCTION
 4
              B.        All Tickets Contradict Public Parking Easements Under Sausalito
 5

 6
              Municipal Code 10.44. l 40B for Marina Plaza

 7            C.        All Tickets Contradict The Public Access Requirements for Marina Plaza
 8
              as Defined by Marinship Specific Plan.
 9
              D.        All Tickets Do Not Appear to Further Any Legitimate Government Interest
10

11            E.        All Tickets Are Likely Discriminatory and Retaliatory In Nature
12
              F.        All Tickets Must Be Dismissed As Vexatious and Discriminatory
13

14
                                               TABLE OF AUTHORITIES1
15
         1.   Sausalito Municipal Code 10.44.140, B. Parking Requirements of Marina and Harbor Facilities
16
         2.   Marinship Specific Plan, ( Zoning Overlay for Marinship Area and Marina Plaza Where All Disputed
17
              Tickets Took Place)
18
                   a.   Marinship Specific Plan Re: Marina Plaza
19
                             i. Marinship Specific Plan Use Designation Table RE: Marina Plaza at Page 8
20

21

22

23                      1
                         I here make a foot note that I do not waive any defenses under State and Federal law relating to
     public shore access and public parking. I reserve all defenses if this continues to move into Marin Superior Court. I
24   also reseve all regulatory defenses that may be caused by requirement imposed by agencies with authority over
     Marina Plaza such as the Bay Conservation and Development Commission, United States Army Corps of Engineers,
25   and California State Lands Commission and other governmental agencies that have authority to regulate Marina
     Plaza. Much of these defenses will require discovery, and are therefore reserved. This foot note should be construed
26   in my favor because I am pro se non-attorney.
27   REQUEST FOR ADMINISTRATIVE NOTICE OF UNDISPUTE MATTERS OF PUBLIC RECORD AND.
     REQUEST FOR DISMISSAL OF ALL CITATIONS ISSUED UNDER SAUSALITO MUNICIPAL CODE
28   1 5.04.165 AGAINST VEHICLES IN MY CONTROL WHICH INCLUDE THE 2006 TOYOTA TUNDRA
     LICENSE PLATE #8Z88260 AND 2004 MAZDA PROTEGE LICENSE PLATE #4UIP540 - 2
             Case 3:22-cv-01809-EMC Document 63 Filed 07/05/22 Page 5 of 12




                         ii. Marinship Specific Plan Section IV 2. "Parcel Access" at Page 37

2                       iii.   Marin Ship Specific Plan Diagram 4 E Diagram Parcel Access for Marina Plaza

 3                      iv. Marinship Specific Plan Section Page 48

 4

 5   ADMINISTRATIVE NOTICE OF UNDISPUTED DOCUMENTS OF PUBLIC RECORD
6       3. 1. Assessors Parcel Map for the Zoning Parcel Marina Plaza

7          https://www.marinmap.org/Planner/queryRM.aspx?PID=063-110-37 [Exhibit A]
        4. 2. Sausalito Municipal 10.44.140 B Which dictates public parking requirements for
8
           planning parcels such as Marina Plaza [Exhibit B
 9
        5. 2. The Marinship Specific Plan,
10
                a. Part 1 https://www.sausalito.gov/home/showdocument?id=1454
11
                b. Part 2 https://www.sausalito.gov/home/showdocument?id=1455
12

13                                          A. INTRODUCTION

14

15         1 . In 1989, the City set aside a set of parcels known as "Marina Plaza" were the beneficiary of public
16              funded beautification projects that were designed to benefit the peoples access to public shore on the
17              property. These expenditures came with clear intent - that Marina Plaza was to have public access
18              easeemnts that included pedestrian easement, public shore access, and public parking.
19         2. I Robbie Powelson, come now to pray that all citations issued for "parking on private property" under
20              Sausalito Municipal Code 1 5.04.165 for vehicles under my control be dismissed in their entirety for
21              parkin at Marina Plaza. In this pleading, I propose a legal theory that all of these tickets issued against
22              me were done so under a discriminatory regulatory scheme. Essentially, the tickets amount to a civil
23              conspiracy between unknown city officials and the owners Marina Plaza to implement an illegal
24              parking enforcement scheme where disfavored groups are denied access to public parking easements
25              while favored groups fully enjoy those easements.
26         3.   These tickets are contextualized within the litigation of Powelson v. City ofSausalito et al (3:22-cv-
27   REQUEST FOR ADMINISTRATIVE NOTICE OF UNDISPUTE MATTERS OF PUBLIC RECORD AND.
     REQUEST FOR DISMISSAL OF ALL CITATIONS ISSUED UNDER SAUSALITO MUNICIPAL CODE
28   15.04.1 65 AGAINST VEHICLES IN MY CONTROL WHICH INCLUDE THE 2006 TOYOTA TUNDRA
     LICENSE PLATE #8Z88260 AND 2004 MAZDA PROTEGE LICENSE PLATE #4UIP540 - 3
            Case 3:22-cv-01809-EMC Document 63 Filed 07/05/22 Page 6 of 12




                01809) and Sausalito Sausalito/Marin County Chapter ofthe California Homeless Union et al v. City

 2              ofSausalito et al 3:21-cv-0J 143. The nexus of facts in both of these cases are intimately related to

 3              these tickets. All of the ticekts were issued either in performing First Amendment Protected Activities

 4              or simply living at Marinship.

 5

 6

 7

 8                B. All Tickets Contradict Public Parking Easements Under Sausalito
 9
                                  Municipal Code 10.44.140B for Marina Plaza
10
           4.   At all relevant times, all tickets issued against the vehicles in my control were on the Marina Plaza
11
                Planning Parcel [See Juidicial Notice Marinship Plan] Marina Plaza is are a set of conjoined parcels
12
                that makeup Marina Plaza, which I understand to be under the direct control of Carlitos Berg [ECF ]
13
                through various subsidiaries. My understanding is that Mr. Berg is the heir of these properties and now
14
                owns them through the will of his deceased father and that all of said parcels are under his direct
15
                control.
16
           5.   My understanding is that all relevant times, Mr. Berg and his surrogates, are the ones who called and
17
                directed tickets to be issued upon vehicles under my control under 15.04.165.
18
           6.   I have direct knowledge that Marina Plaza includes the Marina Yacht Plaza, which is a marina for
19
                various watercraft, sail boats, motor boats, and yachts, and that this harbor is under the direct control o
20
                Mr. Berg and his surrogates who directed vehicles in my control to be ticketed.
21
           7.   My understanding is that public parking requirements for public shore are strongly intertwined the
22
                Public Trust Doctrine for waterfront and shorelines, which demand easements and access to public
23
                waters under State and Federal Public Trust Doctrine, as well as requirements of the Bay Conservation
24
                and Development Commission and California State Lands Commission.
25
           8.   Sausalito Municipal Code 10.44.140 B, states the following:
26

27   REQUEST FOR ADMINISTRATIVE NOTICE OF UNDISPUTE MATTERS OF PUBLIC RECORD AND.
     REQUEST FOR DISMISSAL OF ALL CITATIONS ISSUED UNDER SAUSALITO MUNICIPAL CODE
28   15.04.165 AGAINST VEHICLES IN MY CONTROL WHICH INCLUDE THE 2006 TOYOTA TUNDRA
     LICENSE PLATE #8Z88260 AND 2004 MAZDA PROTEGE LICENSE PLATE #4UIP540 - 4
              Case 3:22-cv-01809-EMC Document 63 Filed 07/05/22 Page 7 of 12




 1                    "B. Parking Requirements. Marinas and harbors shall provide off-street parking at a ratio

 2   of one parking space for every two berths, plus the required parking for any ancillary office space.

 3   Marinas and harbors shall also provide public parking at a ratio of one space per 10 berths. Parking

 4   spaces shall be designed and improved as required by SMC 10.40. 120 (Design and improvement of

 5   parking)."

 6   [https://www.codepublishing.com/CA/Sausalito/html/Sausalito 10/Sausalito 1044. html#10. 44. 140)

 7           9. I have direct knowledge that Marina Plaza Yacht Harbor and all of the conjoined parcels of the Marina

 8                Plaza Planning Parcel [See Marinship Specific Plan Table ]

 9           10. I have direct knowledge, from reading the California Department of Boating and Waterway website,

10                that the Marina Plaza is a harbor as understood in SMC 1 0.44.140 B

11

12

13

14                     Marina Plaza Harbor

15                    Faclllty Address:
                      2310 Marinshlp Way                                              I S7'51'59.2'N122'29'◄7.6"W      f        no
                                                                                        S1unl1tu,CA9•9115

16                    Sausalito, CA94965                                                                            Ontllofli


                      Phone: (41 SI 289-4920


17                    Website: hllp llwww.marlnaplazaha1bor com/home.html

                      Body of Water: Richardson Bay

18
                      County: Matin
                      Type of FacUlty: Marina
                      Open To: Publtc
                      Region: San Francisco
19                    MalllngAddrtss:
                      2330 Marinshlp Way, Suite 301
                                                                                       •�odeo TrallhHd'
20
                      Sausalito, CA94965

                      Minimum Boat length: 8
                      Maximum Boat Length: 120

21                    Total Capacity for Sllps of Tie Ups: 103

                      Services                                         Envlronmental Services

22                       • Boat Rentals
                         • Carry Down Wa:lkways
                                                                            • Sewage or Bilge Pumpout

                         • ElemlcltyonOock
                         • Gearlockers
23                       • Phone Service on Dock
                         • Restrooms


24
             1 1 . It is my understanding that at all relevant times that these tickets were issued, that Mr. Berg and his
25
                  surrogates were in violation of this planning parcel, because I have direct knowledge that there is no
26
                  clearly labeled parking signs anywhere on the property as required by SMC 10.40.120
27   REQUEST FOR ADMINISTRATIVE NOTICE OF UNDISPUTE MATTERS OF PUBLIC RECORD AND.
     REQUEST FOR DISMISSAL OF ALL CITATIONS ISSUED UNDER SAUSALITO MUNICIPAL CODE
28   15.04.165 AGAINST VEHICLES IN MY CONTROL WHICH INCLUDE THE 2006 TOYOTA TUNDRA
     LICENSE PLATE #8Z88260 AND 2004 MAZDA PROTEGE LICENSE PLATE #4UIP540 - 5
             Case 3:22-cv-01809-EMC Document 63 Filed 07/05/22 Page 8 of 12




            12. Because Marina Plaza is a contingous planning parcel under the Marinship General Plan, [See Table ,

 2              the public parking does not exist anywhere within the planning parcel. Because Mr. Berg does not hav

 3              authority to flout the law, the public parking must exist even ifthere is no public signage. The public

 4              parking must exist even ifMr. Berg and his surrogates have chosen to erect misleading "Tow away

 5              signs" in violation ofSMC 10.44. l 40B and the relevant laws ofthe Public Trust Doctrine that governs

 6              private property that abuts public shore

 7          13. At all relevant times, the tickets issued were on a property that is has excessive open parking, and my

 8              parking did not unduly burden Mr. Berg.

 9          14. At all relevant times that the tickets were issued, I was enjoying public access easements that Mr. Berg

10              and his surrogates were seeking to unlawfully deny me.

11          15. At all relevant times, based on the pattern ofrelation [See Sausalito Homeless Union et al v City of

12              Sausalito] [Powelson v City ofSausalito] and related cases - the city had an explicit incentive to

13              endorse Mr. Bergs discriminatory scheme because ofits explicit intention to destroy the encampment

14              at Marinship Park - which abuts Marina Plaza. I have heard Mr. Berg make public statements at City

15              Council meetings where he has agitated that no camp exist at Marinship, which he asserts damages the

16              value ofhis property and is a public nuisance. The City ofSausalito in its pleadings, has concurred and

17              is currently seeking to dissolve the injunction that protects the encampment.

18          16. The City ofSausalito issued frivolous tickets that violated the City's own code and requirements for

19              public parking requirements in order to benefit public shore access. It did this because Mr. Berg and

20              his surrogates only requested tickets against people associated with the encampment at Marinship Park

21              which aligned with the City's interest ofharassing camp members and those associated with them. The

22              City ofSausalito and Mr. Berg had aligned interests to harass campers and their associates in order to

23              reduce the encampment over time.

24

25      C. All Tickets Contradict The Public Access Requirements for Marina Plaza as Defined by Marinship

26                                                     Specific Plan

27   REQUEST FOR ADMINISTRATIVE NOTICE OF UNDISPUTE MATTERS OF PUBLIC RECORD AND.
     REQUEST FOR DISMISSAL OF ALL CITATIONS ISSUED UNDER SAUSALITO MUNICIPAL CODE
28   15.04.165 AGAINST VEHICLES IN MY CONTROL WHICH INCLUDE THE 2006 TOYOTA TUNDRA
     LICENSE PLATE #8Z88260 AND 2004 MAZDA PROTEGE LICENSE PLATE #4UIP540 - 6
            Case 3:22-cv-01809-EMC Document 63 Filed 07/05/22 Page 9 of 12




           17. The parking on Marinship is a public easement created around 1989 as on of the public projects in the

 2             Marinship Specific Plan, which is a zoning overlay over this side of the city. The public specifically

 3             has care, and pays for, a public access easement on Marinship Way [See Marinship Plan "Public

 4             Projects" Page 65]. All of the tickets issued to me are on this public access easement, paid for by the

 5             people.

 6         18. The City of Sausalito and the property owner are discriminating against unhoused people, because tha

 7             plan specifically lists Marin shipway as a public access easement for vehicles, and also specifically

 8             requires the owner to have a certain number of public spaces for his marina as part of the public shore

 9             trust doctrine - at least one parking spot per 10 berths. The property owner is not compliance with any

10             of these requirements, and the City is okay with it because the only people being deprived of these

11             easements are people who live anchored out or who are unhoused.

12

13         19. Case in point, the entire parking on that street the current property was created in the 1989 Marinship

14             Special plan as public parking. Under Section V "Public Projects" of the 1989 Special Plan for

15             Marinship, the parking on Marinship Way was designed as. [Page 65 Marinship Specific Plan]. These

16             public projects are specifically identified in the Marinship as mars that are the responsibility of

17             Sausalito, due to their public nature.

18         20. On Page 37 of the same plan the Marinship Specific Plan ponders parcel access "Due to the shortage o

19             public streets in Marinship parking, individual parcel access must is frequently via an easement

20             access." The plan then goes onto list the parcel access points - and to no surprise it lists Marinshipway

21             which was build and is the "responsibility of the City of Sausalito".

22         21. Marinship Plan among other things sought to "it is the intent of the plan to preserve the Marinship as

23             an area primarily oriented to the use of and service of Sausalito residents, not tourists." Marinship

24             General Plan iJ4 . The Marinship Parking was paid for by the citizens of Sausalito for their own use.

25             Our camp, myself, are residents of Sausalito. Why are we being deprived the only parcel access

26             easement on Marinship, when it was designed specifically for that use so that the public would be able

27   REQUEST FOR ADMINISTRATIVE NOTICE OF UNDISPUTE MATTERS OF PUBLIC RECORD AND.
     REQUEST FOR DISMISSAL OF ALL CITATIONS ISSUED UNDER SAUSALITO MUNICIPAL CODE
28   15.04.165 AGAINST VEHICLES IN MY CONTROL WHICH INCLUDE THE 2006 TOYOTA TUNDRA
     LICENSE PLATE #8Z88260 AND 2004 MAZDA PROTEGE LICENSE PLATE #4UIP540 - 7
              Case 3:22-cv-01809-EMC Document 63 Filed 07/05/22 Page 10 of 12




                  to access public shore and the public park.

 2           22. The entire area where I have received "Parking on private property" tickets have been on a public

 3                project created around 1989 as a public project on Marinshipway. If public parking was to be

 4                anywhere under SMC 10.44.140 - it would be where I got these parking tickets. I am using the land as

 5                intended by the People of Sausalito.

 6           23. The property owners antics of pretending he has no responsibility to honor pedestrian easements and

 7                the public access easement articulated in the Marinship Specific Plan is likely being being further the

 8                cities festering abhorrence of people who live anchored out or are unhoused. As I have articulated, the

 9                business owner never was ticketing people that came in nice cars to play tennis. It was only when we

10                undesirables started showing up did he take an issue. Discrimination is not acceptable for public access

11                easements. The owner has no parking for his entire property, even though the Marinship Plan

12                specifically demands pedestrian easements, public shore easements, and public access easements

13                including for parking.

14           24. Furthermore, I am not molesting the property owner by being present on his property which is open to

15                the public "public access shall be required as part of any development or redevelopment in Marinship

16                providing public access on all public and private streets , pedestrian and bicycle ways, and as may be

17                required by the city [quoting from 4a on page 40 of the Marinship Specific Plan]

18           25. The only reason I believe the property owner is getting away with it, is because he and the city both

19                share in their disgust in the camp and the same eagerness to see us cast aside in the most expedient,

20                cost effective manner.

21           D. All Tickets Do Not Appear to Further Any Legitimate Government
22
             Interest
23
             26. The tickets I have been issued at Marina Plaza contradict the written law of the City of Sausalito,
24
                  public easements in place for decades, and the public trust doctrine. The tickets go against the publics
25
                  interest because they flout the law, deprive the public of public shore access and easements they are
26
                  entitled to. Furthermore, there is no parking permit program at Marina Plaza. There is ample parking
27   REQUEST FOR ADMINISTRATIVE NOTICE OF UNDISPUTE MATTERS OF PUBLIC RECORD AND.
     REQUEST FOR DISMISSAL OF ALL CITATIONS ISSUED UNDER SAUSALITO MUNICIPAL CODE
28   1 5.04.165 AGAINST VEHICLES IN MY CONTROL WHICH INCLUDE THE 2006 TOYOTA TUNDRA
     LICENSE PLATE #8Z88260 AND 2004 MAZDA PROTEGE LICENSE PLATE #4UIP540 - 8
            Case 3:22-cv-01809-EMC Document 63 Filed 07/05/22 Page 11 of 12




               such that parking at Marina Plaza is not an undue hardship on the property owner. Because the tickets

 2             are not issued in an orderly way and undermine the public interest the court may conclude that the

 3             tickets do not further a government interest.

 4         27. If the tickets were sustained, it would mean that the law of Sausalito does not matter. It means SMC

 5             10.44.140 does not matter. It means that the public project that tax payers foot the bill for Marina Plaz

 6             was a boondoggle. The private property owner has seized the publics resources, cut off the publics

 7             access to public shore and can now take that to the bank.

 8         28. The opaque prerogatives of Mr. Berg and the current officials of Sausalito cannot override the written

 9             authorities of Sausalito Municipal Code 10.44.140B and the Mar inship Specific Plan. The public

10             access easements are simply voided without any reasoning or explanation to the public.

11         29. This form of methodology of parking enforcement is not sustainable because it contradicts the written

12             ordinances of Sausalito and the public trust doctrine for public shore. The written ordinances must be

13             respected because those ordinances are the written law of the City of Sausalito and is the law which is

14             known, publicly available, and therefore accountable to the people who live in Sausalito.

15         30. City officials have run a mac truck driven by their meter maids through the ordinances of the City of

16             Sausalito. They have given no explanation and no justification why my vehicles are not deserving of

17             equal protection of the law when many other groups of individuals fully enjoy these public access

18             easements.

19         E. All Tickets Appear To Be Either Discriminatory and Retaliatory In
20
               Nature
21
           31. If it is apparent that the tickets violate ordinances of Sausalito, violate the public trust doctrine for
22
           public shore, then it stands to reason they do not serve the a legitimate government interest. That begs the
23
           question of why the City of Sausalito has issued tickets in contradiction to their own ordinances.
24
           32. This raises the question as to whether the tickets are discriminatory in nature. The city bears the burden
25
           of proof as to why they can flout their own ordinances to ticket me. The legitimacy of the tickets are here
26
              thrown into serious question.
27   REQUEST FOR ADMINISTRATIVE NOTICE OF UNDISPUTE MATTERS OF PUBLIC RECORD AND.
     REQUEST FOR DISMISSAL OF ALL CITATIONS ISSUED UNDER SAUSALITO MUNICIPAL CODE
28   1 5.04.165 AGAINST VEHICLES IN MY CONTROL WHICH INCLUDE THE 2006 TOYOTA TUNDRA
     LICENSE PLATE #8Z88260 AND 2004 MAZDA PROTEGE LICENSE PLATE #4UIP540 - 9
. .   '
                      Case 3:22-cv-01809-EMC Document 63 Filed 07/05/22 Page 12 of 12




           2         F. Conclusion: All Tickets Must Be Dismissed

           3         19. The tickets contradict City law. Private and public officials working in concert are not entitled to

           4         benefit from Sausalito Municipal Code 15.04.165 while disregarding Sausalito Municipal Code 10.44.140.

          5          At least 10 parking tickets exist, because according to the State of California there are 103 births and the

           6         Marina Yacht Plaza [Exhibit]. Under SMC 1 0.44.140 that means there must be at least 10 public parking

           7         spots posted in Marina Plaza - and currently no such posting exists. I have caused no burden to Marina

           8         Plaza, which has copious parking that is mostly empty. In fact, I have benefited from the public access and

           9         public parking easements guaranteed to the public at Marina Plaza.

          10

          11         Verification

          12

          13         I Robbie Powelson, respectfully submit this briefing in advance of my hearing on July 61", at 9am via

          14         telephone.

          15

          16

          17

          18

          19

          20

          21

          22

          23

          24

          25

          26

          27   REQUEST FOR ADMINISTRATIVE NOTICE OF UNDISPUTE MATTERS OF PUBLIC RECORD AND.
               REQUEST FOR DISMISSAL OF ALL CITATIONS ISSUED UNDER SAUSALITO MUNICIPAL CODE
          28   15.04.165 AGAINST VEHICLES IN MY CONTROL WHICH INCLUDE THE 2006 TOYOTA TUNDRA
               LICENSE PLATE #8Z88260 AND 2004 MAZDA PROTEGE LICENSE PLATE #4UIP540 - 10
